10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

Case 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 1 of 47 PagelD# 3

Nancy Melinda Orr

Plaintiff in Propria Persona

3017 Lakewood Road

Glen Allen, VA 23060

email: Nancymorr59@yahoo.com

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA

Federal Courthouse; 701 East Broad Street; Richmond, VA 23219

NANCY MELINDA ORR
PLAINTIFF,
v. CASE NO, 2: 22¢0v 04
LIBRARY OF VIRGINIA
DEFENDANT.

 

COUNT | - COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
UNDER THE AMERICANS WITH DISABILITIES ACT
Plaintiff, Nancy Melinda Orr, sues the defendant, LIBRARY OF VIRGINIA, fon
discrimination on the basis of disability, and for prohibited actions taken on the basis
of this disability under the “regarded as” prong; and for declaratory and injunctive
relief under Title | of the Americans with Disabilities Act as implemented under 29)
CFR Part 1630, ef sequitur, and alleges the following:

JURISDICTION AND VENUE

1. This court has original and exclusive jurisdiction under Title | of the Americans
with Disabilities Act of 1990 and the Americans with Disabilities Act Amendments Act
of 2008; 42 U.S.C. §12101 and 42 U.S.C. §12112(a), (b) and (d)(4) as it pertains to
“Discrimination”; as implemented by 29 CFR Part 1630.14(b)(3), (c) & (d) as it

-l-

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

Case 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 2 of 47 PagelD# 4

pertains to adverse employment actions, employers and medical examinations and
interventions.

2. Venue is proper in the Eastern District of Virginia pursuant to 28 U.S.C.
§1391(b)(2) because Plaintiff resides in this District and a substantial part of the
events or omissions giving rise to the claims occurred in this District.

3. The incidents and facts giving rise to this complaint have occurred within the
last one hundred eighty days. The plaintiff has commenced a complaint against the
defendant with the Equal Opportunity Employment Commission (EEOC) on or about
the date of September 9, 2021. The plaintiff received a Right to Sue letter on
November 1, 2021, a true and correct copy is attached in Exhibit A.

PARTIES

4. Plaintiff, Nancy Melinda Orr, resides in Henrico County, Virginia at the address
of 3017 Lakewood Road; Glen Allen, Virginia and is a qualified individual with a
disability within the meaning of the ADA. The plaintiff is an employee of the
defendant, which is a “covered entity” within the meaning of the Act.

5. The defendant's principal place of business is located at 800 East Broad
Street; Richmond, Virginia.

PLAIN STATEMENT

Defendant discriminated against the plaintiff based upon disability. When the plaintiff
objected, the defendant sought to impose accommodations; including but not limited
to, medical examinations, medical interventions, mask-wearing and isolation, without
first conducting an individualized assessment to determine if she was a direct threat.

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

Case 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 3 of 47 PagelD# 5

STATEMENTS OF FACT

6. The plaintiff is regarded as having a disability by the defendant.
7. The plaintiff therefore has a disability under the protection of the ADA.

8. The plaintiff was an employee of the defendant and is a qualified individual
with a disability.

9. The plaintiff does not have an impairment but is being treated by the defendant
as if plaintiff has an impairment.

10. The reactions and perceptions of the defendant and its employees while
interacting with or working with the plaintiff have demonstrated the defendant's
perception that the plaintiff has an impairment of the immune system and an
impairment of the respiratory system.

11. The plaintiff duly noticed the defendant that she was claiming protection under
the ADA because of being regarded as disabled.

12. The defendant took adverse employment actions because of perceiving the
plaintiff as impaired.

13. The defendant has made a record of plaintiffs disability by mis-classifying the
plaintiff as having an impairment of the immune system and an impairment of the
respiratory system.

14. The plaintiff may proceed under the “regarded as” prong and this court has
jurisdiction under the “regarded as” prong of the ADA.

15. The complaint thereby satisfies the criteria for stating a prima facie cause of
action for these reasons, along with the fact that the defendant has made a record of
such disability as further alleged herein.

16. The ADA also protects individuals such as the plaintiff for whom submitting to
certain accommodation measures would create impairments. The accommodations

-3-

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

Case 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 4 of 47 PagelD# 6

include, but are not limited to, taking experimental injections under Emergency Use
Authorization (EUA) which are being promoted as “vaccines” but which are not
legally vaccines; submitting to repetitive, non-job-related medical examinations
(nasal tissue testing, temperature checks); being placed under isolation, segregation
and quarantine without due process; using medical devices for mitigation measures’
(masks); disclosing plaintiff's medical records and history for non-job-related matters
and participating in clinical trials and epidemiological experiments as a condition of
employment.

17. In fact, defendant's “COVID-19” policies impair the plaintiff from performing hen
employment duties because the defendant will not permit plaintiff to do her job
without first submitting to the defendant's accommodations (“mitigation measures”).

18. Defendant’s policies also violate the plaintiff rights to medical privacy and
informed consent.

19. Defendant and its policies failed to advise the plaintiff of the absolute risks and
absolute benefits for accepting the accommodation of taking experimental injections,
under EVA guidelines, for a “contagious disease” that the defendant regards the
plaintiff as having.

20. Defendant also failed to advise the plaintiff of her right to accept or reject such
accommodation as it is falls under an “emergency use authorization” period.

21. Additionally, defendant failed to advise the plaintiff that no vaccines, which
have been approved by the Food & Drug Administration, are commercially available
to the plaintiff, or are yet in production.

22. Additionally, the so-called “vaccines” that are being promoted as vaccines do
not actually prevent transmission or infection of any contagious disease, specifically
regarding the so-called “COVID-19” or “SarsCOV2” purported “diseases”.

 

 

1 Section 201(h) Food, Drug & Cosmetic Act

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

Case 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 5 of 47 PagelD# 7

23. Additionally the employer has failed to identify or propose other
accommodations which do not require medical devices or injections.

24. The defendant's responses to the requests made by the plaintiff to cease the
discrimination and harassment were in fact non-responsive, a true and correct copy
of each is included with Exhibit A.

25. A “pandemic” or “emergency” is not a legal defense for violating rights. The

 

court should be advised that the defendant believes that its legal violations “7
justified by claiming there is a “pandemic”. This is not a legal defense, just a
ignorance of the law is not a legal defense.

26. The plaintiff requests that the court take judicial notice of the official mortality
rates of the State of Virginia and the United States for the years from 2017, 2018,
2019 and 2020 in which the standard deviation is zero, the very definition of no
verifiable “pandemic”.

27. No laws have changed that would create either a new duty of care or a new
insurable risk for the defendant; and no new laws have created any new legal duty on
obligation for an employer to violate the medical privacy rights of anyone.

28. Certain employees of the defendant present with symptoms of mental illness.
The court should also note that the defendant's employees: Sandra G. Treadway,
Librarian of Virginia and Vanessa Anderson, Human Resources Director each
present with symptoms of Factitious Disorder by Proxy as defined in the Diagnostic
and _ Statistical Manual for Mental Health, Fifth Edition. People with this disorder
falsely claim another person as sick, injured or having problems functioning, claiming
that medical attention is needed. It appears that these employees have each made
such a determination of the plaintiff and engaged in conduct which has given rise to
this complaint and each may not be competent to serve in their official capacity
because of this mental illness.

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

Case 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 6 of 47 PagelD# 8

29. The plaintiff has been employed continuously by the defendant since January
15, 2018.

30. In June of 2020 the defendant began regarding the plaintiff as having a
disability of an impaired immune system and an impaired respiratory system; and
began responding to the plaintiff as if she was carrying a contagious disease.

31. Defendant has never conducted the required individualized assessment to
determine whether or not the plaintiff is or was ever a direct threat to anyone.

32. On February 16, 2021 the defendant coerced and verbally harassed the
plaintiff into revoking her mask exemption.

33. On February 24, 2021, the plaintiff gave her employer written notice wherein
she stated that her work environment was actively hostile and threatened her
personal health and safety. Plaintiff also stated that no statute or executive order
could override her rights.

34. The defendant had expressed to the plaintiff that regarding these
accommodations, the plaintiff's right to informed consent was not violated because
she could quit at any time. This clearly violates 29 CFR Part 1630.9(d).

35. In August, plaintiff received a coercive written notice imposing new
accommodations A true and correct copy is included as part of Exhibit A.

36. This written notice instructed plaintiff to follow new accommodations for her
perceived disability. Defendant now additionally required plaintiff to undergo
injections under Emergency Use Authorization and disclose her “COVID-19

vaccination” status, without any individualized assessment.

37. Defendant began to classify the plaintiff based upon her physical condition of
being “vaccinated” or “unvaccinated”; and also requested the plaintiff to submit to
ongoing tissue-testing, as well as the previous accommodations of wearing a face

covering at work and isolating her.

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

Case 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 7 of 47 PagelD# 9

38. Defendant interfered with Plaintiff's right to informed consent because it failed
to provide an absolute risk/benefit analysis to the plaintiff; and did it failed to disclose
plaintiff's right to refuse an experimental injection under Emergency Use
Authorization (EUA) guidelines.

39. Defendant's written notice demonstrated the defendant's perception that the
plaintiff has an impairment of the immune system and an impairment of the
respiratory system and considers the plaintiff as a potential or actual source of 4
contagious disease without any individualized assessment establishing that plainti
actually needs any accommodations or is a direct threat; and that defendant is taking
adverse employment actions because of this perceived disability.

40. On September 1, 2021, the plaintiff notified her employer that she did not
waive any rights to informed consent, right of refusal under EUA or rights protected
under the ADA. Plaintiff also requested evidence of the defendant's liability
insurance.

41. On September 8, 2021, the defendant threatened adverse employment actions
based upon classifying the plaintiff as “unvaccinated”. Defendant refused to
acknowledge plaintiffs official written Notice or answer her requests for an
individualized assessment and proof of liability insurance.

42. Defendant falsely contended that plaintiff was unresponsive to their requests,
and made a false employment record. Plaintiff realized that obtaining relief through
her employer's agents was a futile gesture and filed an online EEOC Complaint of
Discrimination the next day and sent a formal Charge of Discrimination on
September 17, 2021.

43. On September 16, 2021, Defendant filed a retaliatory false employment record
against the plaintiff in the form of a written notice of Safety Violation without any
evidence of individualized assessment. Defendant threatened the plaintiff with

retaliation by termination.

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

(Pase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 8 of 47 PagelD# 10

44. On September 23, 2021. plaintiff met with defendant's agents Sandra
Treadway and Vanessa Anderson. Defendant gave the plaintiff a second written
notice of safety violation, and admitted that no individualized assessment existed.
Defendant admitted by this statement that the employment record was falsified.
Defendant immediately terminated the plaintiff and gave her a written termination
letter which claimed false employment records as a basis for termination.

45. On November 1, 2021, the plaintiff received her right to sue paper from the
EEOC.

46. Plaintiff states she objects to the injections on the basis of rights protected by
the ADA because defendant is regarding her as disabled.

47. In addition, defendant is clearly classifying employees by injection status,
making a record of this perceived condition and threatening adverse employment
actions against employees who have the condition of being unvaccinated.

48. Defendant's policies also violate the plaintiff rights to medical privacy and
informed consent.

49. Defendant's policies fail to advise the plaintiff of the risks and benefits for
accepting the accommodation of taking injections for the contagious disease that the
defendant regards the plaintiff as having or potentially having.

50. Defendant fails to advise the plaintiff of her right to accept or reject such

accommodation as it is falls under an “emergency use authorization” period.

 

51. Additionally, defendant fails to advise the plaintiff that no vaccines have been
approved by the Food & Drug Administration which are commercially available to the
plaintiff, or are yet in production.?

 

 

 

2 Comirnaty is not in production and all injections under EUA are experimental and cannot be required by

law.
-8-

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

(Pase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 9 of 47 PagelD# 11

52. Additionally, the injections which are being promoted as vaccines do noi
prevent transmission or infection of any contagious disease, specifically regarding
the so-called “COVID-19” or “SARS-Cov2” purported “diseases”.

53. There is no end-date when the defendant will stop harassing the plaintiff to

follow their accommodation measures and stop regarding the plaintiff as disabled.

54. Plaintiff did send timely notices to the defendant that she is both fit for service
and has complied with all requests for response.

55. Plaintiff does not claim a medical or religious exemption; she claimed her
rights under the ADA to decline accommodations for a perceived disability. The fact
that defendant does not want to recognize these rights does not make plaintiff non-
compliant or unresponsive. In fact, defendant is in violation for interfering with]
plaintiff's rights under the ADA.

56. The defendant has a duty of care to aid and encourage the plaintiff in
exercising and enjoying her rights under the ADA. The defendant has thereby
neglected its duty of care.

57. Defendant's new policies are illegal because they are discriminatory and
constitute adverse employment actions.

58. Defendant has used policies and procedures that are discriminatory,
harassing, retaliatory, intimidating, threatening, coercive. The policies interfere with
ADA rights and constitute adverse employment actions and this is prohibited under
the ADA.

59. Specifically, the defendant has failed to ensure the equal access or
accessibility of the premises where the plaintiff is assigned to work. The plaintiff has
thereby been prevented from enjoying equal access and the benefits of employment
enjoyed by other employees.

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

Nase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 10 of 47 PagelD# 12

 

60. The defendant continued without cessation to discriminate against the plaintiff
based upon disability as demonstrated by the communications sent to the plaintiff by
the defendant. All written communications are attached as Exhibit A.

61. Such discrimination persists notwithstanding the existence of readily available,
well-established, accommodations, including, but not limited to refraining from
engaging with the plaintiff in any conversation pertaining to the application of such
mitigation measures and/or allowing the plaintiff to work in a position that would
eliminate the need for the accommodation measures offered by the defendant.

EUA Medical Interventions and Clinical Trials

62. The defendant has failed or refused to advise the plaintiff of the absolute risks
or absolute benefits of such interventions and failed or refused to advise the plaintiff
that he has a choice to accept or refuse such interventions (EUA injections, masking,
submitting tissue samples) as set forth in 21 USC §360bbb-3 et seq.

63. Defendant also failed or refused to advise the plaintiff of his right to accept on
reject such accommodation as it is falls under an “emergency use authorization”
period and the plaintiff is not required to participate in clinical trials, studies or
epidemiological experiments as a condition for employment or as an accommodation
measure.

64. Additionally, defendant fails to advise the plaintiff that no vaccines that have
been approved by the Food & Drug Administration are commercially available to the
plaintiff, or are yet in production.

65. Additionally, the so-called vaccines that are being promoted as vaccines do
not prevent transmission or infection of any contagious disease, specifically
regarding the so-called “COVID-19” or “SarsCOV2” purported “diseases”.

66. Additionally, the employer has not proven that there are no other
accommodations available which do not require injections or medical devices.

-10-

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

Nase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 11 of 47 PagelD# 13

 

67. Since defendant is unfortunately attempting to enforce policies it naturally falls
on the employer to assume the responsibilities of satisfying informed consent and
rights at all levels.

FDA defines masks when used for mitigation purposes as a medical
device.

68. Plaintiff requests that this court take judicial notice of Section 201(h) of the
Food, Drug and Cosmetic Act and its Final Guidance titled, “Classification of
Products as Drugs and Devices & Additional Product Classification Issues:
Guidance for Industry and FDA Staff’, published in September of 2017, in which the
Food & Drug Administration defines wearing a mask for mitigation purposes as a
medical device and the application of a medical device or contrivance. A true and
correct copy of this is included as Exhibit B.

69. Plaintiff further requests judicial notice of the fact that the Food & Drug
administration has never approved wearing such face masks, but only “authorized”
them without any supporting medical or clinical data establishing any medical
necessity or efficacy for wearing such contrivances.

ALLEGATIONS OF DEFENDANT’S VIOLATIONS
OF TITLE | OF THE ADA, 42 U.S.C. §12101 et sequitur.

70. Plaintiff re-alleges each of the statements of fact herein and the allegations
contained in the preceding paragraphs and the plaintiff's supporting affidavit which is
also re-alleged and incorporated herein by reference.

71. Title | of the ADA prohibits employment discrimination on the basis of disability;
in all aspects of employment.

§ 1630.4 Discrimination prohibited.

(a) In general - (1) It is unlawful for a covered entity to
discriminate on the basis of disability against a qualified

individual in regard to:
-ll-

 

 
10

11

12

13

14

15

16

1?

18

19

20

21

22

23

24

25

26

27

28

>,

 

ase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 12 of 47 PagelD# 14

(i) Recruitment, advertising, and job application procedures;

(ii) Hiring, upgrading, promotion, award of tenure, demotion,
transfer, layoff, termination, right of return from layoff, and
rehiring;

(iii) Rates of pay or any other form of compensation and changes
in compensation;

(iv) Job assignments, job classifications, organizational
structures, position descriptions, lines of progression, and
seniority lists;

(v) Leaves of absence, sick leave, or any other leave;

(vi) Fringe benefits available by virtue of employment, whether or
not administered by the covered entity;

(vii) Selection and financial support for training, including:
apprenticeships, professional meetings, conferences and other
related activities, and selection for leaves of absence to pursue
training;

(viii) Activities sponsored by a covered entity, including social
and recreational programs; and

(ix) Any other term, condition, or privilege of employment.

No Evidence of Direct Threat

72. Defendant regards plaintiff as disabled with an impaired respiratory system
and an impaired immune system; and reacts to and perceives plaintiff as a potential
or actual source of contagious disease without any individualized assessment.

73. The very nature of discrimination is to take action based upon an unjustified
negative attitude or opinion that is not based upon factual evidence. The defendant
expresses the attitude toward the plaintiff as if the plaintiff is a direct threat to others,
yet has never complied with any of the individual assessment criteria, to wit:

29 CFR Sections 1630.2(r):

“Direct Threat means a significant risk of substantial harm to the
health or safety of the individual or others that cannot be
eliminated or reduced by reasonable accommodation. The

-12-

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

ase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 13 of 47 PagelD# 15

determination that an individual poses a ‘direct threat’ shall be
based on an individualized assessment of the individual's

present ability to safely perform the essential functions of the job.
This assessment shall be based on a reasonable medical

judgment that relies on the most current medical knowledge
and/or on the best available objective evidence. In determining

whether an individual would pose a direct threat, the factors to
be considered include:

(1) The duration of the risk;
(2) The nature and severity of the potential harm;
(3) The likelihood that the potential harm will occur; and

(4) The imminence of the potential harm.”

74. The defendant has made no meaningful efforts to remediate itself on the law,
and has only referred to statements made on the CDC’s website and the EEOC’s
website that mention the ADA, but this clearly does not qualify as an individualized
medical assessment.

Prohibited Medical Examinations and Inquiries

75. Among other things, Title | prohibits employers (the defendant) from requiring
medical examinations or making disability-related inquiries of employees unless such
examination or inquiry is shown to be job-related and consistent with business
necessity or without posing a direct threat; see, 42 U.S.C. §12112(d)(4); 29 CFR

§1630.14(c). See Affidavit in Support of Complaint (“ASC’)J 3-7, 26.

76. An employer is entitled only to the information necessary to determine whether
the employee can perform the essential functions of the job with or without
reasonable accommodations and the defendant has failed to identify any set of facts

that would qualify under this limitation. See ASC J 17, 22, 23, 26.

29 CFR § 1630.13(b)

Prohibited medical examinations and inquiries.

-13-

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

ase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 14 of 47 PagelD# 16

(b) Examination or inquiry of employees. Except as permitted by
§ 1630.14, it is unlawful for a covered entity to require a medical
examination of an employee or to make inquiries as to whether
an employee is an individual with a disability or as to the nature
or severity of such disability.

(c) Examination of employees. A covered entity may require a
medical examination (and/or inquiry) of an employee that is job-
related and consistent with business necessity. A covered entity
may make inquiries into the ability of an employee to perform
job-related functions.

77. Defendant has never conspicuously disclosed that complying with a facial
masking requirement; an injection requirement; a_ repetitive tissue-testing
requirement; a temperature-taking requirement; an isolation or quarantine
requirement---all without individualized assessment or due process---are in any
way an essential function of the job of Executive Assistant and it was never
previously an essential function of plaintiff's job.

78. The plaintiff must satisfy the Executive Assistant job requirements fon
educational background, employment experience, skills, licenses, and any other
qualification standards that are job related; and be able to perform those tasks that
are essential to the job, with or without reasonable accommodation.*

79. Generally speaking employees that have been performing their essential job
functions prior to the employer regarding them as disabled, easily meet this
requirement.

80. The defendant has failed or refused to comply with this law, even making
the outrageous claim that the plaintiff can either submit to complying with the
accommodations or have her employment terminated, regardless of the
defendant's legal duties or the law. See ASC J 20,22,25.

81. The plaintiffs remedy, with assistance from the court, is to request the
defendant to terminate its perceptions regarding the plaintiffs unvaccinated

 

 

3 https://www.eeoc.gov/publications/ada-your-responsibilities-employer
-14-

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Nase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 15 of 47 PagelD# 17

condition and its associated assumptions of regarding the plaintiffs respiratory and
immune system as impaired. The perception thus being eliminated, the employee
returns to his antecedent status quo employment status.

Medical Records are Confidential

82. Defendant appears to be widely sharing its non-job-related medical
classification of the plaintiff with many employees without any regard to
confidentiality.

29 CFR § 1630.13 continues:

(1) Information obtained under paragraph (c) of this section
regarding the medical condition or history of any employee shall
be collected and maintained on separate forms and in separate
medical files and be treated as a confidential medical record,
except that:

(i) Supervisors and managers may be informed regarding
necessary restrictions on the work or duties of the employee and
necessary accommodations;

(ii) First aid and personnel may be informed, when appropriate, if
the disability might require emergency treatment; and

(iii) Government officials investigating compliance with this part
shall be provided relevant information on request.

(2) Information obtained under paragraph (c) of this section
regarding the medical condition or history of any employee shall
not be used for any purpose inconsistent with this part.

83. Plaintiff received a coercive written notice imposing new accommodations on
the plaintiff for her perceived disability. Defendant now additionally required plaintiff
to undergo Emergency Use Authorization injections and disclose her “COVID-19
vaccination” status. Defendant began to classify the plaintiff based upon her physical
condition of being “vaccinated” or “unvaccinated”; and also requested the plaintiff to
submit to ongoing tissue-testing, as well as the previous accommodations of wearing

a face covering at work and isolating her. Defendant interfered with Plaintiff's right to
-15-

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

ase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 16 of 47 PagelD# 18

informed consent because it failed to provide an absolute risk/benefit analysis to the
plaintiff; and did it failed to disclose plaintiff's right to refuse an experimental injection
under Emergency Use Authorization (EUA) guidelines. These factors are based
solely upon defendant's perception of plaintiffs physical condition. See ASC J 78,
20, 23, 26

84. Plaintiff is also repetitively asked to disclose her injection status on an online
portal without any notice regarding the data retention policy or who receives the data
and for what purpose. See ASC 17, 20.

Defendant is not running a voluntary health program.

29 CFR § 1630.14

(d) Other acceptable examinations and inquiries. A covered
entity may conduct voluntary medical examinations and
activities, including voluntary medical histories, which are part of
an employee health program available to employees at the work
site.

(1) Employee health program. An employee health program,
including any disability-related inquiries or medical examinations
that are part of such program, must be reasonably designed to
promote health or prevent disease. A program satisfies this
standard if it has a reasonable chance of improving the health of,
or preventing disease in, participating employees, and it is not
overly burdensome, is not a subterfuge for violating the ADA or
other laws prohibiting employment discrimination, and is not
highly suspect in the method chosen to promote health or
prevent disease. A program consisting of a measurement, test,
screening, or collection of health-related information without
providing results, follow-up information, or advice designed to
improve the health of participating employees is not reasonably
designed to promote health or prevent disease, unless the
collected information actually is used to design a program that
addresses at least a subset of the conditions identified. A
program also is not reasonably designed if it exists mainly to shift
costs from the covered entity to targeted employees based on
their health or simply to give an employer information to estimate

future health care costs. Whether an employee health program is
-16-

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

Nase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 17 of 47 PagelD# 19

 

 

reasonably designed to promote health or prevent disease is
evaluated in light of all the relevant facts and circumstances.

(2) Voluntary. An employee health program that includes
disability-related inquiries or medical examinations (including
disability-related inquiries or medical examinations that are part
of a health risk assessment) is voluntary as long as a covered
entity:

(i) Does not require employees to participate;

(ii) Does not deny coverage under any of its group health plans
or particular benefits packages within a group health plan for
non-participation, or limit the extent of benefits (except as
allowed under paragraph (d)(3) of this section) for employees
who do not participate;

(iii) Does not take any adverse employment action or retaliate
against, interfere with, coerce, intimidate, or threaten employees
within the meaning of Section 503 of the ADA, codified at 42
U.S.C. 12203 and 29 CFR Part 1630.14(c).

85. Defendant has never conspicuously disclosed that the discriminatory policy is
a voluntary health program.

86. Defendant has never provided an absolute risk/absolute benefit analysis of the
discriminatory policy; this disqualifies the discriminatory policy as a health program
by design. See ASC J 20

Limiting, Segregating and Classifying

87. Defendant has violated and continues to violate Title | of the ADA, 42 U.S.C.
§12112(b) implemented by 29 CFR Parts 1630.5.

29 CFR § 1630.5 Limiting, segregating, and classifying.

It is unlawful for a covered entity to limit, segregate, or
classify a job applicant or employee in a way that adversely
affects his or her employment opportunities or status on the
basis of disability.

-17-

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

—

)

 

ase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 18 of 47 PagelD# 20

88. Defendant has violated and continues to violate Title | of the ADA, 42 U.S.C.
§12112(b) implemented by 29 CFR Parts 1630.5.

89. Defendant isolated and segregated the plaintiff from co-workers. See ASC J
12.

90. Defendant has mis-classified plaintiff as “disabled” under the “regarded as”
prong and made a “record of’ this perceived disability. See ASC f 72, 14,
15,17, 18,20, 22

91. Defendant classified the plaintiff as having the physical condition of being
“unvaccinated” and has discriminated and retaliated against plaintiff upon this
basis. See ASC J 23, 25, 26.

92. Defendant mis-classified the plaintiff as disabled based upon perceived
disability and it refused to acknowledge plaintiff's enjoyment of her rights under the
ADA. See ASC J 78, 20, 22, 23.

93. Defendant threatened to terminate plaintiffs employment based on these
classifications. See ASC ] 22, 23, 25, 26.

Imposing Accommodations is Prohibited

29 CFR Part § 1630.9

(d) An individual with a disability is not required to accept an
accommodation, aid, service, opportunity or benefit which such
qualified individual chooses not to accept.

94. The law prohibits the defendant from imposing any accommodation measures
upon the plaintiff, and yet the defendant deployed several adverse employment
actions that intimidated, harassed, coerced and retaliated against the plaintiff as a
means of attempting either to impose its accommodations on the plaintiff or to punish
plaintiff for not accepting its accommodations. See ASC J 13-17,20, 22, 23, 25, 26

95. If the plaintiff had previously made at least one request for reasonable
modifications, plaintiff has since withdrawn such request.

-18-

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

—,

ase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 19 of 47 PagelD# 21

96. Defendant offered mitigation measures as accommodations to the perceived
disability and plaintiff chose not to accept. See ASC { 17-. 14, 16-20, 23.

97. Defendant limited the accommodation measures*, such as examinations,
disclosures of medical records that were not job-related, experimental injections,
medical interventions, equipment or products, to only those chosen by the defendant.
See ASC J 14-17,20,22,23,25,26.

 

98. The plaintiff is not required to accept any accommodations and has not waived
any rights to informed consent. The defendant had expressed to the plaintiff tha
regarding these accommodations, the plaintiff's right to informed consent was no
violated because she could quit at any time. This clearly violates 29 CFR Part
1630.9(d). See ASC {| 718, 20,23.

99. The defendant has not indicated that the accommodations offered are
reasonable or necessary to enable the plaintiff to perform essential functions of the
employment position held.

100. The plaintiff explained and disclosed to the defendant that the
accommodations offered by the defendant would create a disability for the plaintiff
that substantially limits one or more major life activities, including, but not limited to:
breathing, normal cell growth, normal immune system functioning and
communications. See ASC J 713-15, 18-20.

101. In fact, the defendant is not required to provide any accommodation under the
“regarded as” prong.

29 CFR Part § 1630.9
(e) A covered entity... is not required to provide a

reasonable accommodation to an individual who meets the
definition of disability solely under the “regarded as” prong

(§ 1630.2(g)(1)(iti)).

 

 

4 29 CFR Part 1630.20)(5)()
~19-

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

Nase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 20 of 47 PagelD# 22

 

No Undue Burden For Declining Accommodations

102. The defendant has never expressed that plaintiffs refusal to accept such
accommodations would have fundamentally altered the work environment or caused
any undue burden upon the defendant. In fact, the defendant’s policies regarding
the so-called forced medical examinations and interventions have already
fundamentally altered the work environment.

103. Defendant cited no facts including:

29 CFR Part 1630 et sequitur.

(i) The nature and net cost of the accommodation needed
under this part, taking into consideration the availability of
tax credits and deductions, and/or outside funding;

(ii) The overall financial resources of the facility or facilities
involved in the provision of the reasonable accommodation,
the number of persons employed at such facility, and the
effect on expenses and resources;

(iii) The overall financial resources of the covered entity, the
overall size of the business of the covered entity with
respect to the number of its employees, and the number,
type and location of its facilities;

(iv) The type of operation or operations of the covered
entity, including the composition, structure and functions of
the workforce of such entity, and the geographic
separateness and administrative or fiscal relationship of the
facility or facilities in question to the covered entity; and

(v) The impact of the accommodation upon the operation of
the facility, including the impact on the ability of other
employees to perform their duties and the impact on the
facility's ability to conduct business.

No Fundamental Alterations For Declining Accommodations

104. The defendant has failed to demonstrate how the plaintiff's refusal to accept
the defendant's accommodations would have fundamentally altered the manner in
which the defendant carried out its usual operations; in fact, the defendant has

-20 -

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

Clase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 21 of 47 PagelD# 23

 

already substantially altered the manner in which it normally carries out its operations
by attempting to force its accommodations against the will of all of its employees.

No Safety Risk For Declining Accommodations

105. The defendant has failed to identify any legitimate safety requirements that
would be necessary for the safe operation of its business. It has failed to identify on
demonstrate any safety requirements pertaining to the accommodations that are’
based on actual risks and not on mere speculation, stereotypes, or generalizations
about individuals with disabilities.

Adverse Employment Actions Taken For Declining Accommodations

106. The list of adverse employment actions taken by the defendant against the
plaintiff for not accepting its accommodations is extensive; such as: segregated and

isolated from her co-workers and the accommodation of wearing a mask was imposed on
her, was harassed by the defendant for the loose fit of her mask, coerced and verbally
harassed the plaintiff into revoking her mask exemption; heightened the retaliation despite a
EEOC Charge and pending investigation; falsified employment records by creating written
warnings based upon false premises, terminated the defendant for disability and the
condition of being “unvaccinated”.

107. Defendant took adverse employment actions against the plaintiff based upon
perceiving the plaintiff as having an impaired immune system, impaired respiratory
system and classifying her as a direct threat; which provides evidence that defendant
regards the plaintiff as disabled.

108. Plaintiff demands a jury trial.

109. WHEREFORE, Plaintiff demands judgment against the defendant for
compensatory damages and that the court declare that Defendant's discriminatory
actions and/or violations as set forth in this Complaint violate Title | of the Americans
with Disabilities Act under 42 U.S.C. §12101 and implemented under 29 CFR Part
1630 et sequitur,

-21-

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

—

sy

 

Nase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 22 of 47 PagelD# 24

110. And an order enjoining the defendant, along with its officers, agents, and
employees, and all others in active concert or participation with them, from:

111. Engaging in discriminatory acts and/or omissions against the plaintiff because
of (perceived) disability; and an order enjoining the defendant from implementing
practices and policies in a manner that is inaccessible to individuals with disabilities,
specifically the plaintiff, within the meaning of Title | of the ADA;

112. And ordering defendant to:

113. Comply with the requirements of Title | of the Americans with Disabilities Act,
42 U.S.C. §12101; and,

114. Provide appropriate auxiliary aids and services; modify policies, practices, and
procedures; and/or require alternative methods to ensure the accessibility of its
premises and services to individuals with disabilities, specifically the plaintiff; and,

115. Take such affirmative steps as may be necessary to restore, as nearly as
practicable, each identifiable victim of the defendant's discriminatory conduct to the
position that plaintiff would have been in, but for the Defendant's conduct, beginning
with the plaintiff; and,

116. Take such affirmative steps as may be necessary to prevent the recurrence of
any discriminatory conduct and to eliminate, to the extent practicable, the effects of
such conduct.

117. Award monetary damages to the plaintiff, in an appropriate amount for injuries!
suffered as the result of Defendant's failure to comply with the requirements of Title |
of the ADA, 42 U.S.C. §12101; and,

118. Assess a civil penalty against the Defendant in an amount authorized by 42
U.S.C. §12101 to vindicate the public interest and make the plaintiff whole; and,

Order such other relief as the interests of justice may require.

-22-

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

hase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 23 of 47 PagelD# 25

 

 

COUNT II — COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
UNDER THE AMERICANS WITH DISABILITIES ACT

Plaintiff, NANCY MELINDA ORR, sues the defendant, LIBRARY OF VIRGINIA,
for Retaliation, Coercion, Interference and Intimidation and for declaratory and
injunctive relief under Title | of the Americans with Disabilities Act as implemented
under 29 CFR Part 1630, et sequitur, and alleges the following:

JURISDICTION AND VENUE

119. This court has original and exclusive jurisdiction under Title | of the Americans
with Disabilities Act of 1990 and the Americans with Disabilities Act Amendments Act
of 2008; 42 U.S.C. §12101 and 42 U.S.C. §12112(a), (b) and (d)(4) as it pertains to
“Retaliation, Coercion, Threats and Interference”; as implemented by 29 CFR Part
1630.14(b)(3), (c) & (d) as it pertains to adverse employment actions, employers,
medical examinations and interventions.

120. Venue is proper in the Eastern District of Virginia pursuant to 28 U.S.C.
§1391(b)(2) because Plaintiff resides in this District and a substantial part of the
events or omissions giving rise to the claims occurred in this District.

121. The incidents and facts giving rise to this complaint have occurred within the
last one hundred eighty days. The plaintiff commenced a complaint against the
defendant with the Equal Opportunity Employment Commission (EEOC) on or about
the date of September 9, 2021 The EEOC has issued the plaintiff a Right to Sue letter
on November 1, 2021.

PARTIES

122. Plaintiff, Nancy Melinda Orr resides in Henrico County, at the address of 3017
Lakewood Road Glen Allen, Virginia and is a qualified individual with a disability
within the meaning of the ADA. The plaintiff is an employee of the defendant, which
is a “covered entity” within the meaning of the Act.

-23-

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

Nase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 24 of 47 PagelD# 26

 

 

123. The defendant's principal place of business is located at 800 East Broad
Street Richmond, Virginia.

PLAIN STATEMENT

124. Defendant discriminated against the plaintiff based upon disability. When the
plaintiff objected, the defendant retaliated against him by interfering with his rights,
imposing punitive measures including isolation and medical examinations,
withholding his pay, reducing his work hours and ultimately terminating his
employment.

STATEMENTS OF FACT

125. Plaintiff re-alleges each of the statements of fact herein and the allegations
contained in the preceding paragraphs because the same set of facts and allegations
gave rise to violations of this particular Count of retaliation, coercion and interference
and the plaintiff's supporting affidavit is also re-alleged and incorporated herein by
reference and by paragraph number.

126. Plaintiff suffered the adverse employment action of choosing between taking
an experimental drug, or other mitigation measures with no liability coverage on
having her employment terminated without any diagnosis establishing that she is a
direct threat and needs such medical treatment in the first place.

127. The list of adverse employment actions taken by the defendant against the

plaintiff for not accepting its accommodations is extensive; such as: segregated and
isolated from her co-workers and the accommodation of wearing a mask was imposed on
her, was harassed by the defendant for the loose fit of her mask, coerced and verbally
harassed the plaintiff into revoking her mask exemption; heightened the retaliation despite a
EEOC Charge and pending investigation; falsified employment records by creating written
warnings based upon false premises, terminated the defendant for disability and the
condition of being “unvaccinated”.

-24-

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

Nase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 25 of 47 PagelD# 27

 

 

128. Defendant took adverse employment actions against the plaintiff based upon
perceiving the plaintiff as having an impaired immune system, impaired respiratory,
system and classifying him as a direct threat; which provides evidence that
defendant regards the plaintiff as disabled.

ALLEGATIONS OF DEFENDANT’S VIOLATIONS

OF TITLE | OF THE ADA, 42 U.S.C. §12101 et sequitur.
129. The ADA also prohibits employers from retaliating against individuals who
oppose discriminatory activities or who make charges, testify, assist, or participate in
any manner in an investigation, proceeding or hearing under the ADA, Title 42 U.S.C.
§ 12203 and 29 CFR Parts 1630.12(a) and (b) and Parts 1630.13(b), (c), (d) and
Part 1630.14(c), to wit:

Retaliation

29 CFR § 1630.12 Retaliation and coercion.

(a) Retaliation. It is unlawful to discriminate against any
individual because that individual has opposed any act or
practice made unlawful by this part or because that
individual made a charge, testified, assisted, or participated
in any manner in an investigation, proceeding, or hearing to
enforce any provision contained in this part.

130. The plaintiff was threatened to be terminated because of her unvaccinated
condition and has successfully stated a violation of the act simply because she has
been subjected to an action prohibited under the law because of perceived physical
impairment.

131. The impairment experienced by the plaintiff in connection with her respiratory
and immune systems is neither transitory nor minor from the defendant's point of
view because the defendant has no end date when it will not regard this status as
warranting termination.

-25-

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

yase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 26 of 47 PagelD# 28

 

 

132. On September 16, and 23, 2021, Defendant filed retaliatory false employment
records against the plaintiff in the form of written notices of Safety Violation without!
any evidence of individualized assessment. Defendant threatened the plaintiff with
retaliation by termination and subsequently terminated the plaintiff; even though it
was aware of a pending EEOC investigation. See ASC ¥ 22,24,25.

133. Nor can the defendant claim it was unaware of its own perception at the date
of termination because the very basis for termination is the unvaccinated condition of
the plaintiff and the attendant deficiencies associated with the plaintiff's respiratory
and immune systems.

134. Defendant adopted a new discriminatory policy and discriminated against the
plaintiff based on perceived disability; when plaintiff opposed the unlawful policy,

 

defendant retaliated against the plaintiff by threatening to terminate her employmen
through the ruse of classifying plaintiff as a “safety violation” by making false
employment records; and “non-compliant”; by falsely claiming that she was no
responsive to their requests for information, however, the evidence shows tha
plaintiff was threatened with termination because she was deemed a “direct threat”
without individualized assessment and because she was classified as

“unvaccinated”. See ASC J 20, 23, 25, 26.
Coercion, Interference or Intimidation

29 CFR § 1630.12

(b) Coercion, interference or intimidation. It is unlawful to
coerce, intimidate, threaten, harass or interfere with any
individual in the exercise or enjoyment of, or because that
individual aided or encouraged any other individual in the
exercise of, any right granted or protected by this part.

135. Additionally, the defendant has coerced, intimidated and interfered against the
plaintiff by:

-26-

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

Nase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 27 of 47 PagelD# 29

136. a.) coercing the plaintiff to submit to the accommodation measures, medical
interventions and examinations and other health control measures, even though the
defendant was duly advised by the plaintiff that the plaintiff was not subject to any
health control measures by any court orders, and that the defendant was not
empowered by any court order or other legal duty to impose such interventions,
examinations or control measures upon the plaintiff; See ASC J 13-15 and,

137. b.) allowing other employees to coerce, intimidate or verbally ridicule and
abuse the plaintiff in violation of the defendant's duty of care; See ASC J 13-16 and,

138. c.) threatening the plaintiff with the termination of her employment, See ASC
20,22,25,26, and,

139. d.) threatening the plaintiff with exclusion because of her disability.

140. Defendant coerced the plaintiff on many occasions by demanding plaintiff
submit to experimental medical treatments without first performing an individualized
assessment to gather the medical evidence necessary to base such a “demand”
upon. See ASC J 20,23, 26.

141. Defendant effectively coerced the plaintiff by refusing to provide a risk/benefit
analysis as required for true informed consent; and refused to recognize the
plaintiff's right to refuse medical treatment or participate in a clinical study, thus
interfering with plaintiff's enjoyment of protected rights. See ASC {[ 20,26.

142. Defendant interfered with the exercise and enjoyment of plaintiff's rights by,
refusing to document the discrimination, process her opposition to the prohibited
practices or aid the plaintiff in the enjoyment of her rights, which is a duty of the
defendant. See ASC { 14-16, 78..

143. Defendant's designated compliance agents refused to correct defendant's
classification or to aid and encourage plaintiff in the enjoyment of her rights under the
ADA which is a duty of the defendant.

 

 

5 Chapters 1.23 through 1.43 of the New York State Public Health Manual.
-27 -

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

Nase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 28 of 47 PagelD# 30

 

144. In fact, Sandra G. Treadway, Librarian of Virginia and Vanessa Anderson,
Human Resources Director interfered with plaintiffs rights by refusing to assist the
plaintiff and by refusing to help her find a resolution to the discrimination or mitigate

the harassment.

145. They each interfered with plaintiff's rights under the ADA by refusing to
acknowledge his rights or provide requested proof of an individualized assessment, a
risk/benefit analysis or proof of liability insurance.

146. Defendant has interfered with plaintiffs enjoyment of his ADA rights which
lends credence to the allegation that the discriminatory policy is a subterfuge for
violating the ADA or other laws prohibiting employment discrimination.

147. On August 12, 2021 coercive written notice (Exhibit A-1) clearly demonstrates
that the defendant is regarding the plaintiff as disabled and is intending adverse
employment actions if plaintiff does not submit to defendant's accommodation
measures immediately. It does not mention plaintiff's right of refusal under EUA
guidelines®, there is no mention of plaintiff having the right to refuse the defendant's
accommodations under the ADA’, there is no mention made of plaintiff having the
right of informed consent. Defendant is interfering with the plaintiff's rights by
obfuscation and by refusing to acknowledge them.

148. Defendant interfered with plaintiffs enjoyment of her rights under the ADA by
providing employer “vaccine declaration” forms which offered only medical or
religious exemption as the available “opt-out” choices. This interfered with plaintiff's
ADA rights because it limited plaintiff's right to invoke ADA protections under the
‘regarded as” prong, including without limitation, the right to be free of discrimination
and retaliation based upon disability, such as being terminated or segregated
because of one's physical condition.

149, The EEOC has offered guidance on interference and states:

 

 

6 Title 21, Chapter 9 V, Part E §360bbb—3a. Emergency use of medical products

7 29 CFR Part 1630.9 (d) & (e) -28 -

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

ase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 29 of 47 PagelD# 31

 

“Examples of interference include: issuing a policy or
requirement that purports to limit an employee's rights to
invoke ADA protections (e.g., a fixed leave policy that states
‘no exceptions will be made for any reason’);"®

150. Defendant interfered with plaintiffs rights by classifying plaintiff as
“noncompliant” when plaintiff notified the defendant that plaintiff was exercising her
rights of refusal based upon her rights under the ADA and informed consent.

151. Defendant deceptively tried to persuade plaintiff that her only remedy to the
illegal policy demands would be to ask for a medical or religious exemption from
these discriminatory policies and practices, thereby creating a false record that is
without legal merit and creates a substantial prejudice against the plaintiff to seek a
remedy in court.

152. Defendant only presented a medical or religious exemption, and did not
mention that ADA accommodations are available; which is obfuscation of and
interference with the exercise and enjoyment of plaintiffs rights held under the ADA,
particularly 42 USC 12203(b) and 29 CFR 1630.12(b).

Harm and Injury suffered by the plaintiff.

153. The injury suffered by the plaintiff is thereby concrete and particularized and it
is actual and imminent. The injury alleged in the complaint, including the pleading
and exhibits, clearly sets forth a set of facts that actually occurred and are not
conjectural or hypothetical. The injury described therein is at least fairly traceable to
the challenged action, conduct and policies of the defendant.

154. The harm (injury) already suffered by the plaintiff includes, but is not limited to,
having to choose between waving medical privacy rights, and submitting to medical
interventions and examinations without the benefits of informed consent, and being]

 

 

 

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

ase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 30 of 47 PagelD# 32

regarded as if he has a contagious disease without any individualized assessment
according to any medical or scientific standards or having his employment
terminated.

155. Once violated, these rights cannot be recovered. The medical privacy rights
are the plaintiffs intangible property rights which are not required to be waived as a
condition of employment and include the right to refuse to participate in any
epidemiological experiments or clinical trials.

156. Defendant's policies demonstrate soundly and convincingly, that its policies
inflict future harm against the plaintiff who is regarded as having a disability on
invisible disability and that the defendant fully intends to continue these policies and
that the defendant fully intends to retaliate and continue retaliating against the
plaintiff as alleged herein.

157. Itis important to note that none of the personnel in human resources that were
involved in this matter ever once cited any legal authority that countermands the
ADA.

158. Furthermore, defendant never cited any legal authority or obligation that
has created any new duty of care or insurable risk to impose the discriminatory,
policies.

159. Furthermore, the defendant failed to identify any insurable risk for engaging in
the administration of medical examinations, interventions or protecting anyone from
what is being claimed as a “pandemic” or “public health danger’.

160. Additionally, defendant fails to cite any insurable risk for the same or for those
suffering any adverse health consequences as a result of complying with the
accommodations administered by unlicensed, untrained, uninsured and un-equipped
employees of the defendant.

-30-

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

ase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 31 of 47 PagelD# 33

 

 

161. Even one’s own licensed and insured physician requires informed consent as
a condition of administering any medical examination or intervention upon the
patient. No laws have changed and the defendant is without any legal authority on
obligation to engage in these practices, and especially engage in harassment,
discrimination and retaliation in violation of federal law.

162. As a result of Defendant's actions the plaintiff has experienced discrimination,
segregation, isolation, retaliation, coercion, interference, loss of wages, termination

and disruption in her career.

163. The list of adverse employment actions taken by the defendant against the

plaintiff for not accepting its accommodations is extensive; such as: segregated and
isolated from her co-workers and the accommodation of wearing a mask was imposed on
her, was harassed by the defendant for the loose fit of her mask, coerced and verbally

 

harassed the plaintiff into revoking her mask exemption; heightened the retaliation despite a
EEOC Charge and pending investigation; falsified employment records by creating written
warnings based upon false premises, terminated the defendant for disability and the
condition of being “unvaccinated”.

164. Defendant took adverse employment actions against the plaintiff based upon
perceiving the plaintiff as having an impaired immune system, impaired respiratory
system and classifying him as a direct threat; which provides evidence that
defendant regards the plaintiff as disabled.

165. Plaintiff demands a jury trial.

166. WHEREFORE, Plaintiff demands judgment against the defendant fon
compensatory damages and that the court declare that Defendant's retaliatory,
coercive, interfering and intimidating actions and/or violations as set forth in this
Complaint violate Title | of the Americans with Disabilities Act under 42 U.S.C.
§12101 and implemented under 29 CFR Part 1630 et sequitur;

-31-

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

Nase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 32 of 47 PagelD# 34

 

167. And an order enjoining the defendant, along with its officers, agents, and
employees, and all others in active concert or participation with them, from:

168. Engaging in retaliation, coercion, interference and intimidation and/or
omissions against the plaintiff because of his disability; and an order enjoining the
defendant from implementing practices and policies in a manner that is inaccessible
to individuals with disabilities, specifically the plaintiff, within the meaning of Title | of
the Americans with Disabilities Act (ADA);

169. And ordering defendant to:

170. Comply with the requirements of Title | of the Americans with Disabilities Act,
42 U.S.C. §12101; and,

171. Provide appropriate auxiliary aids and services; modify policies, practices, and
procedures; and/or require alternative methods to ensure the accessibility of its
premises and services to individuals with disabilities, specifically the plaintiff; and,

172. Take such affirmative steps as may be necessary to restore, as nearly as
practicable, each identifiable victim of the defendant's discriminatory conduct to the
position that he would have been in, but for the Defendant's conduct, beginning with
the plaintiff; and,

173. Take such affirmative steps as may be necessary to prevent the recurrence of
any retaliation, coercion, interference and intimidation and to eliminate, to the extent
practicable, the effects of such conduct.

174. Award monetary damages to the plaintiff, in an appropriate amount for injuries
suffered as the result of Defendant's failure to comply with the requirements of Title |
of the ADA, 42 U.S.C. §12101; and,

175. Assess a civil penalty against the Defendant in an amount authorized by 42|
U.S.C. §12101 to vindicate the public interest and make the plaintiff whole; and,

~32-

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

ase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 33 of 47 PagelD# 35

 

 

176. Make a referral to the US Attorney General to impose fines and remove the
library's federal funding,

177. Order such other relief as the interests of justice may require.

COUNT Ill - COMPLAINT FOR WRONGFUL TERMINATION
OF EMPLOYMENT

178. The plaintiff, Nancy Melinda Orr, sues the defendant Library of Virginia fon
wrongful termination of employment and alleges the following:

JURISDICTION AND VENUE

179. The Eastern District Court has original jurisdiction over claims for wrongful
termination for employment and related employment agreements.

180. The plaintiff resides in Henrico County and her mailing address is 3017
Lakewood Road Glen Allen, Virginia.

181. The defendant is a resident in the state of Virginia , with its principal place of
business in the independent city of Richmond at the address of 800 East Broad
Street; Richmond, Virginia.

182. The material facts for all times material to this complaint took place in the
independent city of Richmond, Virginia

STATEMENTS OF FACT
183. On the date of September 23, 2021, the plaintiffs employment was terminated

184. The plaintiff advised the defendant on several occasions by documenting
the harassment and coercion via plaintiff's confidential communications filed
with the Human Relations Department other communications with the
Defendant.

-33-

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

Nase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 34 of 47 PagelD# 36

 

185. This documentation addressed the fact that defendant's actions were not legal
and not binding upon the plaintiff and that the defendant had no duty to act under
these new terms. True and correct copies of these written communications are
attached as Exhibit A.

186. The defendant ignored the plaintiff, refused to do a proper investigation, falsely
declared plaintiff was “a safety violaton” and “non-compliant” and threatened to
terminate her employment for discriminatory reasons on September 23, 2021 with a
letter. The communications exhibited with this complaint are included as Exhibit A.

187. Defendant is not a licensed physician and not supervised under any licensed
physician yet wants to impose a medical intervention upon the plaintiff as a condition
for employment in violations of the plaintiff's right to informed consent and Americans
with Disabilities Act.

188. Defendant stated that while it may require a forced medical intervention
without any medical qualification or licensing, the plaintiff is somehow required to ge
permission from a licensed physician in order to exercise her right to informed
consent. Why does the plaintiff need a licensed physician to exercise her right to
informed consent and the defendant does not need any licensed physician to violate
plaintiff's rights regarding medical interventions?

ALLEGATIONS

189. Plaintiff re-alleges the foregoing facts and incorporates each fact herein
because the same set of facts also gave rise to the violations in Count III and further
alleges as follows,

190. The plaintiff's employment was wrongfully terminated by the defendant for
discriminatory reasons.

191. Upon defendant's change in the employment conditions purportedly requiring
the plaintiff to get experimental injections, wear a mask while working, and other

-34-

 

 
10

il

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

Hase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 35 of 47 PagelD# 37

 

 

mitigation measures, plaintiff was suddenly expected to waive her rights to informed
consent on the unfounded presumption that the plaintiff had an impaired immune
system, impaired respiratory system, and was a carrier of a contagious disease, all
without having first made any individualized assessment as to whether or not the
plaintiff was a direct threat to anyone.

192. Beginning from the date the plaintiff was hired on January 15, 2018, plaintiff
has been compensated for her labor and the services she has provided the
defendant at regular intervals. Plaintiff had a reasonable expectation to continue
working for the defendant. The defendant's termination of the plaintiffs employment
was in violation of the employment contract and was made without notification on
adequate notification to the plaintiff.

193. The terms of the employment contract are alleged herein and include the
written policies of the defendant, a true and correct copy of which is attached as
Exhibit C.

194. The conditions of plaintiff's employment with the defendant did not require the’
defendant to waive any of her rights.

195. The conditions of the plaintiff's employment with the defendant did not require
the plaintiff to accept the defendant’s medical advice.

196. The conditions of the plaintiff's employment with the defendant did not include
terms that allowed the defendant to engage in the unlicensed practice of medicine
and the defendant is not insured or otherwise indemnified for practicing medicine.

197. The conditions of the plaintiff's employment with the defendant did not include
terms that made the defendant the plaintiffs physician or otherwise require the
plaintiff to act upon medical advice given by the defendant.

198. Plaintiff's employment was wrongfully terminated in retaliation for exercising
her rights under the ADA. Also, the plaintiff has certain intangible private property

rignts which include the right to care for her own health and choose her own
-35-

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

ase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 36 of 47 PagelD# 38

 

physician and health care practices while also avoiding habits and practices that the
plaintiff believes might ruin or risk her good health.

199. The plaintiff also has the intangible private property right to make decisions
that affect her health with informed consent; that is, plaintiff has a right to review all
risk and benefit analyses and results from relevant clinical studies prior to making
any decision to adopt new practices regarding her health.

200. The defendant refused to comply with the law and violated the plaintiff's
property rights, specifically those enumerated under the state’s Patient’s Bill of
Rights and informed consent.

201. Defendant is an employer and prohibited from firing or otherwise retaliating
against employees, specifically the plaintiff, who report workplace safety violations on
participate in investigations into such violations.

 

202. New conditions of employment violated the Americans with Disabilities Act and

 

involved the defendant's conduct which included imposing mitigation measures and
retaliation in violation of the ADA.

203. New conditions of employment violated the long-standing safety standards
adopted by the Occupational Safety and Health Administration and involved the
defendant's conduct which included imposing medical interventions in violation of the
law prohibiting the unlicensed practice of medicine.

204, Plaintiff's employment was also wrongfully terminated because the plaintiff
refused to accept a medical intervention sought to be imposed by the defendant
where such medical intervention was not permitted to be imposed by law or to be
imposed by the defendant and violated the plaintiff's right to informed consent.

205. As a direct and proximate result of the defendant's actions, the plaintiff's
employment was wrongfully terminated by the defendant.

- 36 -

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

ase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 37 of 47 PagelD# 39

206. The defendant’s actions were willful and negligent. After plaintiff's objections
and attempts to re-mediate the defendant on the law and her rights, the defendan
continued violating the law and violating the plaintiff's rights as alleged herein.

207. The defendant did not act under color of law or claim of lawful authority. The
defendant had no legal duty to require the plaintiff to undertake any medical
intervention much less purportedly requiring the plaintiff to get injections, submit
tissue samples or wear a surgical mask or mask of any kind as a new condition of his

employment.

208. The plaintiff was not acting under any authority of law or court order. Again,
the defendant was under no legal duty to violate the law as alleged herein, and no
authority or court order permitted the defendant to violate the law or violate the
plaintiff's rights as alleged herein. The plaintiff never waived any of her rights at any
time.

209. No employee or agent of the defendant is licensed, competent or authorized to
give medical advice, such as requiring employees such as the defendant to get
injections, wear a mask, or submit to temperature or tissue testing.

210. Additionally, neither the defendant nor any of its employees or agents are
insured or indemnified to collect tissue samples or interpret vital statistics (nasal
swabs and temperature readings which can lead to being quarantined without due
process).

211. Defendant has no authority to require the plaintiff to act upon its medical
advice (injections, masks); disclose his vital statistics (temperature); or submit to any
medical examination by giving tissue samples (nasal testing) as a new condition off
the plaintiff retaining her employment with the defendant.

212. The defendant is not authorized to violate the rights of the plaintiff, nor is the
defendant required to break the law, or operate beyond its charter as a new condition

of the plaintiff's employment that was never considered at the time she was hired.
-37-

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

Nase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 38 of 47 PagelD# 40

 

 

Plaintiff demands a jury trial.

213. WHEREFORE plaintiff demands judgment against the defendant for wrongful
termination together with costs and attorney fees and other relief as this court deems
appropriate.

COUNT IV - LOST WAGES

214. Plaintiff re-alleges the foregoing and incorporates each fact herein and further
alleges as follows,

215. Plaintiff was wrongfully terminated on the date of September 23, 2021 and
based upon his rate of compensation, the plaintiff is entitled to lost wages in the
approximate amount of nine-hundred thirty-two dollars ($932) per week from the date
of September 23, 2021 through the current date, not including additional benefits
which may be calculated by the court, plus interest as calculated by the laws of the

state of Virginia.

216. WHEREFORE plaintiff demands judgment against the defendant for losf
wages in the amount of nine-hundred thirty-two dollars ($932) as alleged herein,
together with costs and attorney fees and other relief as this court deems
appropriate.

COUNT V — BREACH OF CONTRACT

217. Plaintiff re-alleges the foregoing and incorporates each fact herein and further
alleges as follows,

218. It was an employment contract that was commenced between the plaintiff and
defendant on the date of January 15, 2018 with an offer of employment and
continued without interruption until plaintiff's employment was terminated as alleged

herein.

- 38 -

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

ase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 39 of 47 PagelD# 41

 

 

219. The Plaintiff's job title was Executive Assistant and she was paid $932 per
week.

220. In addition to the regular remuneration paid by the defendant to the plaintiff as
alleged, the defendant provided the plaintiff with annual incentive bonus as an
additional benefit under the employment agreement.

221. WHEREFORE plaintiff demands judgment against the defendant in the
amount of no less than the amount of $48,500 plus costs and attorney fees and
other relief as this court deems appropriate.

COUNT VI - BREACH OF IMPLIED CONTRACT

222. Plaintiff re-alleges the foregoing and incorporates each fact herein and further
alleges as follows,

223. It was an employment contract that was commenced between the plaintiff and
defendant on the date of January 15, 2018 with an offer of employment and
continued without interruption until plaintiff's employment was terminated as alleged}
herein.

224. The Plaintiff's job title was Executive Assistant and she was paid $932 per
week.

225. In addition to the regular remuneration paid by the defendant to the plaintiff as
alleged, the defendant provided the plaintiff with annual incentive bonus as an

additional benefit under the employment agreement.

226. WHEREFORE plaintiff demands judgment against the defendant in the
amount of no less than the amount of $48,500 plus costs and attorney fees and other
relief as this court deems appropriate.

-39-

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

ase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 40 of 47 PagelD# 42

COUNT Vil - COMPLAINT FOR WRONGFUL CONSTRUCTIVE
TERMINATION OF EMPLOYMENT

227. The plaintiff, Nancy Melinda Orr , sues the defendant, Library of Virginia
, for wrongful constructive termination of employment and alleges the following:

JURISDICTION AND VENUE

228. The Eastern District Court has original jurisdiction over claims for wrongful
termination for employment and related employment agreements.

229. The plaintiff resides in Henrico County, Virginia, and her mailing address is
3017 Lakewood Road; Glen Allen, Virginia.

230. The defendant is a resident in the state of Virginia, with its place of business at
the address of 800 East Broad Street; Richmond, Virginia.

231. The material facts at all times material to this complaint took place at 800 East
Broad Street, Richmond, Virginia.

STATEMENTS OF FACT

232. On the date of September 23rd, 2021, the plaintiff's employment was
terminated with notice.

233. The plaintiff advised the defendant on several occasions, and in writing,
that its actions were not legal and not binding upon the plaintiff and that the
defendant had no duty to act under these new terms. True and correct copies
of these written communications are attached as Exhibit A.

234. The defendant ignored the plaintiff's timely responses declining
mitigation measures and EUA injections on the basis of plaintiff not waiving
any of his rights, including right of refusal and informed consent.

-40-

 

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

hase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 41 of 47 PagelD# 43

 

 

235. Defendant refused to acknowledge plaintiff's timely written notices of her
rights-based refusal and terminated her employment on the date of September
23, 2021.

236. Defendant falsely claimed the plaintiff was “a safety violation” and “non-
compliant” because defendant regarded the plaintiff as having an impaired
immune system and respiratory system, perceived plaintiff as contagious
without evidence and classified the plaintiff as “unvaccinated”.

237. Defendant is not a licensed physician and not supervised under any
licensed physician yet wants to impose a medical intervention upon the plaintiff
as a condition for employment in violations of the plaintiff's right to informed
consent and Americans with Disabilities Act.

 

238. Defendant stated that while it may require a forced medical intervention
without any medical qualification or licensing, the plaintiff is somehow required
to get permission from a licensed physician in order to exercise his right to
informed consent. Why does the plaintiff need a licensed physician to exercise
his right to informed consent and the defendant does not need any licensed
physician to violate plaintiff's rights regarding medical interventions?

ALLEGATIONS

239. Plaintiff re-alleges the foregoing and incorporates each fact herein and
further alleges as follows,

240. The plaintiffs employment was constructively terminated by the
defendant for discriminatory reasons upon defendant's change in the
employment contract purportedly requiring the plaintiff to submit to medical
interventions and mitigation measures and waive her rights to informed
consent, on the unfounded presumption that the plaintiff had impairments of

-41 -

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

ase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 42 of 47 PagelD# 44

 

 

her immune system and respiratory system, and carried a contagious disease,
without having first made any individualized assessment as to whether or not
the plaintiff was a direct threat to anyone.

241. Defendant intentionally created or deliberately permitted such intolerable
working conditions for the plaintiff, that the plaintiff reasonably felt she had no
choice except to continue to refuse to participate in these intolerable working
conditions which concluded in her employment being terminated, but it was
constructively terminated because the defendant has made a false record that
the plaintiff was “a safety violation”, and “non-compliant”.

242. Defendant had no legal right to terminate the plaintiff's employment so it
created false records intending to give the appearance that the plaintiff was “a
safety violation” and “non-compliant” completely ignoring the facts constituting
discrimination based upon disability and retaliation which were the actual direct
and proximate causes of the wrongful constructive termination of plaintiff's
employment.

243. Defendant has intentionally created or knowingly permitted working
conditions that are and were so intolerable or aggravated, that a reasonable
employer would realize that a reasonable person in the employee's position
would have no choice, but to resign.

244. While the plaintiff did not resign, the plaintiff's employment was
constructively terminated because defendant made a false record that the
plaintiff was “a safety violation” and “non-compliant”. Defendant’s conduct
was intended to falsify employment records regarding the defendant's wrongful
and constructive termination of the plaintiff's employment in an attempt to
escape liability.

-42-

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

Nase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 43 of 47 PagelD# 45

 

 

245. The defendant created intolerable, adverse working conditions and
continuously mistreated the plaintiff and made a false record that the olaintift

was “a safety violation” and “non-compliant”.

246. The plaintiff was subjected to working conditions that violated Americans
with Disabilities Act. The plaintiff was required to submit to certain
accommodations (medical treatments) and waive her rights to informed
consent as explained herein.

247. That defendant intentionally created or knowingly permitted these
working conditions. The defendant regarded the plaintiff as being disabled and
enforced mitigation measures such as mask-wearing, experimental medical
treatments (being promoted as vaccines which are not vaccines) during an
emergency use authorization period and other health control measures upon
the plaintiff which harassed the plaintiff and created intolerable working
conditions for the plaintiff.

248. The defendant's policies impaired the plaintiff's ability to undertake hen
employment duties without first submitting to the accommodations offered by
the defendant. This unlawfully discriminates against the plaintiff under 29 CFR
Part 1630.9(d) as the plaintiff is not required to accept any accommodations.

249. That these working conditions were so intolerable that a reasonable
person in the plaintiff's position would have had no reasonable alternative
except to resign;

250. The plaintiff's only choice was to resign because of these working
conditions, but she was terminated before she resigned.

251. The plaintiff was harmed by suffering the loss of pay; opportunities for
employment with defendant that were made available to others but not the

-43-

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

fase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 44 of 47 PagelD# 46

 

plaintiff; and the peace of mind, which plaintiff has the right to expect, of
working for an employer without being harassed, threatened, coerced and
intimidated on the job.

252. Plaintiff was harmed by suffering interference with the right to exercise
and enjoy all rights that are protected under the Americans with Disabilities Act.

253. Plaintiff was harmed by suffering the loss of medical privacy rights,
informed consent and the right to refuse to take part in a clinical trial.

254. Defendant's working conditions and illegal policies were a substantial
factor in causing the plaintiff's harm.

255. Beginning from the date the plaintiff was hired, she has been
compensated for her labor and the services she has provided the defendant al
regular intervals. Plaintiff had a reasonable expectation to continue working for
the defendant.

256. The defendant's constructive and wrongful termination of the plaintiff's
employment was in violation of the employment contract and was made
without notification or adequate notification to the plaintiff.

257. The terms of the employment contract are alleged herein.

258. The conditions of plaintiff's employment with the defendant did not
require the defendant to waive any of her rights.

259. The conditions of the plaintiff's employment with the defendant did not
require the plaintiff to accept the defendant's medical advice.

260. The conditions of the plaintiff's employment with the defendant did not
include terms that allowed the defendant to engage in the unlicensed practice
of medicine and the defendant is not insured or otherwise indemnified for

practicing medicine.
-44-

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

ase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 45 of 47 PagelD# 47

261. The conditions of the plaintiff's employment with the defendant did not
include terms that made the defendant the plaintiffs physician or otherwise,
require the plaintiff to act upon medical advice given by the defendant.

262. Plaintiff's employment was wrongfully and constructively terminated in
retaliation for exercising her rights under the ADA.

263. Also, the plaintiff has certain intangible private property rights which
include the right to care for her own health and choose her own physician and
health care practices while also avoiding habits and practices that she believes
might ruin or risk her good health.

264. The plaintiff also has the Intangible private property right to make

 

decisions that affect her health with informed consent; that is, plaintiff has a
right to review all risk and benefit analyses and results from relevant clinical
studies prior to making any decision to adopt new practices regarding her
health. The defendant refused to comply with the law and violated the
plaintiffs property rights, specifically those enumerated under the state's
Patient's Bill of Rights and informed consent.

265. Defendant is an employer and prohibited from firing or otherwise
retaliating against employees, specifically the plaintiff, who report workplace
safety violations or participate in investigations into such violations.

266. New conditions of employment violated the long-standing safety
standards adopted by the Occupational Safety and Health Administration and
involved the defendant's conduct which included imposing a medical
intervention in violation of the law prohibiting the unlicensed practice of
medicine.

-45.-

 

 

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

ase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 46 of 47 PagelD# 48

267. Defendant created new conditions of employment which violated the
Americans with Disabilities Act. These new conditions included imposing
mitigation measures offered as accommodations to the plaintiff and resulted in
defendant retaliating against the plaintiff in violation of the ADA.

268. Plaintiff refused to accept the medical interventions (accommodations)
sought to be imposed by the defendant and plaintiff's employment was
wrongfully and constructively terminated. These medical interventions were
not permitted by law to be imposed by the defendant and violated the plaintiff's
rights under the Americans with Disabilities Act. The accommodations also
violated her right to informed consent.

269. As a direct and proximate result of the defendant's actions, the plaintiff's
employment was wrongfully and constructively terminated by the defendant.

270. The defendant's actions were willful and negligent. After plaintiff's
objections and attempts to re-mediate the defendant on the law and her rights,
the defendant continued violating the law and violating the plaintiff's rights as
alleged herein.

271. The defendant did not act under color of law or claim of lawful authority.
The defendant had no legal duty to require the plaintiff to undertake any
mitigation measures or the one purportedly requiring the plaintiff to wear a
surgical mask or mask of any kind as a new condition of her employment.

272. The plaintiff was not acting under any authority of law or court order.
Again, the defendant was under no legal duty to violate the law as alleged
herein, and no authority or court order permitted the defendant to violate the
law or violate the plaintiff's rights as alleged herein.

273. The plaintiff never waived any of her rights at any time.

- 46 -

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

ase 3:22-cv-00054-DJN Document 1-1 Filed 01/28/22 Page 47 of 47 PagelD# 49

'||277. The defendant is not authorized to violate the rights of the plaintiff, nor is

 

274. No employee or agent of the defendant is licensed, competent or
authorized to give medical advice, such as requiring employees such as the
plaintiff to get experimental injections, wear a mask, or submit to temperature
or tissue testing.

275. Additionally, neither the defendant nor any of its employees or agents are
insured or indemnified to collect tissue samples or interpret vital statistics such
as body temperatures.

276. Defendant has no authority to require the plaintiff to act upon its medical
advice (getting experimental injections, wearing masks); to have defendant
interpret her vital statistics (e.g. temperature); to submit to any medical
examination or give tissue samples (e.g. nasal testing) as a new condition ofj
the plaintiff retaining her employment with the defendant.

the defendant required to break the law, or operate beyond its charter as a new
condition of the plaintiff's employment that was never considered at the time
she was hired.

278. Plaintiff demands a jury trial.

279. WHEREFORE plaintiff demands judgment against the defendant for
wrongful constructive termination together with costs and attorney fees and}.

other relief as this court deems appropriate.
DATED this Q& day of January 2022. 2 mM. (hn

Nancy Melinda Orr, Plaintiff

-47 -

 

 
